Case 1:15-cr-00149-RM Document 303-1 Filed 12/05/15 USDC Colorado Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


 Criminal Case No. 15-cr-00149-RM

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.   RAUL CARAVEO,
 2.   PAMILA LUCERO,
 3.   SABRINA CARAVEO,
 4.   EUGENE CHAVEZ,
 5.   CAROLINA ARAGON,
 6.   CRISTINA PORTILLOS,
 7.   CONRAD ARCHULETA, and
 8.   NANCY GUZMAN,

        Defendants.



                    ORDER ON GOVERNMENT’S MOTION TO
             RESTRICT ACCESS TO DOC. 299, LEVEL ONE RESTRICTION


        This matter comes before the Court on the Government’s Motion to Restrict

 Access to Doc. 299, Level One Restriction.

        Having considered the grounds for this motion, it is HEREBY GRANTED.

        Document 299 shall be restricted to Level One Restriction, with access for case

 participants and the Court only.



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                                                  RAYMOND P. MOORE
                                                  United States District Court Judge

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